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Hendrik Eddie Block

Travel from [i to Washington DC

2839 miles each way for a total of 5678 miles
5678 at $.575 per mile is $3264.85

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omBk S&H x (8 £¥ charging | @i

© [96061 Rd 223, North Fork,
® | Washington, District of Col }°

@ Add destination

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£) Send directions to your phone

A vial-40E 42hr

42 hr without 2,839 miles
traffic

© vial-40 E and I- 42 hr

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This is a 42 hour drive without trafiic.

Driving 8 hours a day would take 5.25 days

4 nights hotel each way for a total of 4 nights

Average hotel rate is $150 before taxes. For a total of 12 nights

That is $1800 plus taxes for the hotels

| cannot stay in a hotel chain that is susceptible to unhealthy cleaning procedures. | have metal
in my back that if gets infected due to bedbugs | can die.

| took the cheapest price using my marriott bonvoy discount.

That is $1800 plus taxes for the hotels
